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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


POLYSCIENCES, INC.,
                                                              CIVIL ACTION
              Plaintiff/Counter-Defendant

v.                                                    DOCKET NO.: 20-cv-03649-PBT

JOSEPH T. MASRUD,
MATHEW GRIFFIN, and
SEROCHEM LLC,

              Defendants/Counter-Plaintiffs.


     PLAINTIFF’S MOTION FOR LEAVE TO FILE A REPLY IN SUPPORT OF ITS
          MOTION TO COMPEL ATTENDANCE AT ORAL DEPOSITION

       Plaintiff Polysciences, Inc. (“Polysciences”) moves the Court for leave to file a reply to

Defendants Joseph T. Masrud and Serochem LLC’s (collectively, “Defendants”) Opposition to

Polysciences’ Motion to Compel Attendance at Oral Deposition (ECF No. 79) (the “Opposition”).

A proposed reply brief accompanies this filing. The purpose of the proposed reply submission is

to briefly address the erroneous and misleading statements made in the Opposition. Polysciences

respectfully submits that its proposed reply may assist the Court in considering the Motion to

Compel.

       WHEREFORE, Polysciences respectfully requests leave to file a reply to Defendants’

opposition to the Motion to Compel Attendance at Oral Deposition.



Dated: June 29, 2022                        Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on the below date, she filed the foregoing with the

Court using the ECF system, which will provide notice and a copy to counsel of record.



Date: June 29, 2022                                /s/Cali R. Spota
                                                   Counsel for Plaintiff and Counter-Defendant
